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                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF ILLINOIS

    RORY GRIFFIN, #Y35204,                                 )
                                                           )
                            Plaintiff,                     )
                                                           )
    v.                                                     )    Case No. 3:21-cv-00436-NJR
                                                           )
    DENNIS LARSON,                                         )
                                                           )
                            Defendant.                     )


    DEFENDANT DENNIS LARSON, M.D.’S ANSWER AND AFFIRMATIVE DEFENSES
                       TO PLAINTIFF’S COMPLAINT

         COMES NOW, Defendant Dennis Larson, M.D., by and through his attorneys of

Sandberg, Phoenix & von Gontard, P.C., and for his Answer and Affirmative Defenses to

Plaintiff’s Complaint [Doc. 1], pursuant to [Doc. 18] and Administrative Order 244, states as

follows:

                                               The Complaint

         Griffin makes the following allegations in the Complaint (Doc. 1):

On June 24, 2019, Griffin had surgery on his bicep (Id. at p. 3).

         ANSWER: Admit.

After the surgery, he experienced arm and hand pain, but Dr. Larson would only prescribe him

Tylenol1 (Id.).

         ANSWER: Defendant denies the allegations contained in this paragraph.

Griffin previously had prescriptions for other pain medications prior to his arrival at IDOC but

Dr. Larson refused to prescribe those medications.



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 More specifically, Plaintiff’s Complaint alleges Dr. Larson “only prescribe [sic] me Tylenol 325mg tab.” [Doc. 1,
p. 3].


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         ANSWER: Defendant lacks specific knowledge or information to admit or deny the
         allegations contained herein, and therefore denies the same.

Griffin also suffered from pain in his arm, shoulders, elbow, wrist, and hip due to arthritis, but

Dr. Larson would not provide him with any care (Id. at pp. 3-4).

         ANSWER: Defendant admits Plaintiff had certain medical conditions and received
         certain medical treatment as reflected in his medical records. Defendant denies he
         “would not provide [Plaintiff] with any care.” Except as expressly admitted herein,
         all other allegations contained in the above paragraph are denied, including but not
         limited to, any allegations of wrongdoing, maltreatment or causation.

He was scheduled for physical therapy, but the appointments were cancelled.

         ANSWER: Defendant admits he recommended Plaintiff receive physical therapy.
         Defendant denies all of Plaintiff’s physical therapy appointments were cancelled as
         the medical records provided as exhibits to Plaintiff’s Complaint reflect that
         Plaintiff received numerous physical therapy appointments in 2019. Further, to the
         extent any physical therapy appointments were cancelled, Defendant denies the
         cancellations were due to any wrongdoing, negligence, or deliberate indifference on
         his part.

Dr. Larson refused to send Griffin to a specialist, nor would he recommend Griffin back to the

surgeon who performed his original surgery, Dr. Steven Young (Id. at p. 4).

         ANSWER: Defendant denies the allegations contained in this paragraph. In fact,
         Plaintiff’s own Complaint admits Plaintiff received a second surgery by Dr. Young
         on or around August 14, 2020. See [Doc. 1, p. 5].

Dr. Young performed tendon surgery on Griffin’s hand on August 14, 2020 (Id. at p. 5).

         ANSWER: Defendant admits Plaintiff received certain medical treatment as
         reflected in his medical records. Except as expressly admitted herein, all other
         allegations contained in the above paragraph are denied, including but not limited
         to, any allegations of wrongdoing, maltreatment or causation.

After the surgery, Griffin could not stretch some of his fingers out normally, but Dr. Larson

refused to provide him with any medication.

         ANSWER: Defendant currently lacks specific knowledge or information to admit or
         deny the allegations contained herein, and therefore denies the same.




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Nor would he approve Griffin’s request for an appointment with Dr. Young (Id.).

         ANSWER: Defendant currently lacks specific knowledge or information to admit or
         deny the allegations contained herein, and therefore denies the same.


                                               Discussion

         Based on the allegations in the Complaint, the Court designates the following count:

Count 1:         Eighth Amendment deliberate indifference claim against Dr. Larson for refusing
                 to provide Griffin with pain medication or treatment for his arthritis and refusing
                 to provide follow-up care after two surgeries.

         ANSWER:         Defendant denies the allegations as set forth in Count 1 of Plaintiff’s
                         Complaint.


                                          Request for Relief

         Defendant denies that Plaintiff is entitled to any relief.



                AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

         1.      To the extent Plaintiff has failed to exhaust his administrative remedies prior to

the initiation of this cause of action, Plaintiff’s claims are barred by the Prison Litigation Reform

Act and other applicable statutes.

         2.      To the extent that Plaintiff has failed to appropriately disclose his litigation

history to this Court, Plaintiff’s claims are subject to dismissal pursuant to the requirements of

the Prison Litigation Reform Act.

         3.      Plaintiff’s claims are barred by the applicable statute of limitations.

         WHEREFORE, having fully answered Plaintiff’s Complaint [Doc. 1], Defendant Dennis

Larson, M.D., respectfully requests to be dismissed with costs to Plaintiff, and for such other and

further relief as the Court deems just and proper.




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                                            SANDBERG PHOENIX & von GONTARD P.C.


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                                   Certificate of Service

        I hereby certify that on the 1st day of February 2022, the foregoing was filed
electronically with the Clerk of the Court and mailed by United States Postal Service to the
following non-participant in Electronic Case Filing:

LEGAL MAIL
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                                            /s/ Abbey A. Fritz




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